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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


 In re:                                            Case No. 21-10699 (DSJ)

                                                   Chapter 7
 KOSSOFF PLLC,

           Debtor


                         NOTICE OF APPEARANCE AND
                 DEMAND FOR NOTICE AND FOR SERVICE OF PAPERS


          PLEASE TAKE NOTICE that the undersigned hereby appears as Counsel for Columbus

Properties, Inc. (“CPI”) in the above-referenced chapter 11 proceeding, pursuant to Bankruptcy

Rules 2002 and 9010(b), and requests that all notices given or required to be given in these cases,

and all papers served or required to be served in these cases, be given to and served upon the

undersigned attorneys, or on its behalf, at the addresses set forth below:

                                          Thomas A. Pitta, Esq.
                                           Paul Weinstein, Esq.
                                              Andrew Dasilva
                                      Emmet, Marvin & Martin, LLP
                                        120 Broadway, 32nd Floor
                                       New York, New York 10271
                                        Telephone: (212) 238-3000
                                     Email: tpitta@emmetmarvin.com
                                      pweinstein@emmetmarvin.com
                                       adasilva@emmetmarvin.com

          PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request of

Service of Papers includes not only the notices and papers referred to in the Bankruptcy Rules

specified above, but also includes, without limitation, orders and notices of any application,

motion, petition, pleadings, request, complaint, or demand, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, courier service, hand delivery,

telephone, facsimile transmission, telegraph, telex, or otherwise that (1) affects or seeks to affect
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in any way any rights or interests of any creditor or party-in-interest in this case, including, with

respect to: (a) the debtors; (b) property of the estates, or proceeds thereof, in which the debtors

may claim an interest; or (c) property or proceeds thereof in the possession, custody or control of

others that the debtors may seek to use; or (2) requires or seeks to require any act, delivery of any

property, payment, or other conduct.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

subsequent appearance, pleading, claim, or suit is intended or shall be deemed to waive CPI’s

(i) right to have final orders in non-core matters entered only after de novo review by a higher
court; (ii) right to trial by jury in any proceeding so triable herein or in any case, controversy or

proceeding related hereto; (iii) right to have the reference withdrawn in any matter subject to

mandatory or discretionary withdrawal; (iv) right to enforce any contractual provisions with

respect to arbitration; or (v) other rights, claims, actions, defenses, setoffs, or recoupments to which

CPI has or may be entitled under agreements, in law, or in equity, all of which rights, claims,

actions, defenses, setoffs, and recoupments are expressly reserved.


Dated: April 30, 2021


                                              By:      /s/ Thomas A. Pitta
                                                    Thomas A. Pitta




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